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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA



   UNITED STATES OF AMERICA

                       v.                                   No. 21-cr-123 (PLF)


   VITALI GOSSJANKOWSKI,
                     Defendant.


                    CONSENT MOTION FOR IMMEDIATE RELEASE

        Defendant Vitali GossJankowski, through counsel, respectfully moves for his immediate

release from detention pending sentencing. In support of this motion, Mr. GossJankowski states as

follows:

        1.     Mr. GossJankowski has been detained by the U.S. Marshals Service (USMS) and

the D.C. Department of Corrections (DOC) pending sentencing in this matter since October 30,

2023.

        2.     On January 20, 2025, the government moved to dismiss the indictment against

Mr. GossJankowski with prejudice pursuant to Federal Rule of Criminal Procedure 48(a). The

government cited the Executive Order dated January 20, 2025, Granting Pardons and

Commutation of Sentences for Certain Offenses Relating to the Events at Or Near the United

States Capitol on January 6, 2021, as the reason for this dismissal.

        3.     According to press reports and communications with other defense counsel,

January 6 defendants who received final convictions and sentences have already been or are in the

process of being released from the custody of the Bureau of Prisons.



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       4.      As a defendant who has not yet been sentenced or remanded to the custody of the

Bureau of Prisons, Mr. GossJankowski cannot be released by the USMS or the D.C. DOC until

this Court orders his release.

       5.      Given his disability, which makes communication with D.C. DOC staff difficult or

impossible, every day of detention for Mr. GossJankowski represents an extreme hardship above

and beyond the hardships attendant to being detained.

       6.      The government consents to this motion for immediate release.

       WHEREFORE, Mr. GossJankowski respectfully requests that the Court order his release

pending dismissal of his case as contemplated by the Presidential Proclamation.


January 20, 2024                                    Respectfully submitted,

                                                    /s/ Matthew J. Peed
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